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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION

   NICOLE L. HOUSTON,

                Plaintiff,

   v.                                                 Case No. 3:21-cv-456-MMH-JRK

   ENHANCED RECOVERY
   COMPANY, LLC,

                Defendant.
                                           /

               CASE MANAGEMENT AND SCHEDULING ORDER
                     AND REFERRAL TO MEDIATION

         Having considered the case management report prepared by the parties,

   the Court enters this case management and scheduling order:

    Plaintiff’s disclosure statement as required by                  AUGUST 30, 20211
    Federal Rule of Civil Procedure 7.1 and Local
    Rule 3.03.
    Deadline for providing mandatory initial                          AUGUST 30, 2021
    disclosures.
    Deadline for moving to join a party or amend                 SEPTEMBER 27, 2021
    the pleadings.
    Deadline for disclosing expert reports.

                                                Plaintiff:        NOVEMBER 19, 2021
                                               Defendant:         DECEMBER 17, 2021
                                                Rebuttal:          JANUARY 14, 2022



         The parties state that they have filed their disclosure statements. See Uniform Case
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   Management Report (Dkt. No. 11) at 3. However, Plaintiff has not done so.
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   Deadline for completing discovery and filing            FEBRUARY 14, 2022
   motions to compel.
   Deadline for filing dispositive and Daubert               MARCH 14, 2022
   motions (responses due 21 days after service).
   Mediation                             Deadline:        JANUARY 14, 2022
                                         Mediator:        Terry Schmidt, Esq.
                                          Address: 501 Riverside Ave., Ste. 903
                                                       Jacksonville, FL 32202
                                       Telephone:               (904) 398-1818
   Deadline for filing all other motions including             JUNE 27, 2022
   motions in limine.



   Deadline for filing the joint final pretrial                   JULY 11, 2022
   statement.



   Date and time of the final pretrial conference.                JULY 18, 2022
                                                                     10:00 A.M.
   Trial Term Begins                                           AUGUST 1, 2022
                                                                    9:00 A.M.
   Estimated Length of Trial                                             2 DAYS
   Jury/Non-Jury                                                          JURY

         1.    With respect to discovery matters, the date set forth above is the

   final date discovery shall be completed. Motions to compel brought pursuant to

   Rule 37 must be filed no later than the close of discovery. The parties should

   be aware that a stipulation to the continuance of discovery anticipates no

   discovery disputes.   Therefore, this Court will not hear discovery disputes

   arising during the stipulated continuance. The parties are further advised that

   any extension of discovery will not result in an extension of the dispositive



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   motion filing deadline or other pretrial or trial dates except upon order of the

   Court. If promptly raised, the deadline for amending pleadings is subject to

   extension based on new discovery or other good cause.

         2.    The parties are reminded of their obligation to comply with the

   redaction requirements set forth in Fed. R. Civ. P. 5.2.

         3.    Pursuant to Local Rule 3.01(a), any motion and memorandum in

   support must be in a single document not to exceed 25 pages absent leave of

   Court. Responses to motions may not exceed 20 pages absent leave of Court.

   In summary judgment practice, the combined motion and memorandum

   (including any “Statement of Undisputed Facts”) must be filed as one document

   and may not exceed 25 pages without permission of the Court. Under Local

   Rule 3.01(d), a party may reply to a response to a motion for summary judgment

   within fourteen days after service of the response. The reply must not exceed

   seven pages inclusive of all parts.     Please deliver a courtesy copy of all

   dispositive and Daubert motions, responses, and replies, including copies of all

   relevant exhibits and depositions, to the chambers of the undersigned. The

   undersigned requires the filing of complete deposition transcripts rather than

   excerpts.

         4.    Except as otherwise ordered, the parties are directed to meet the

   pretrial disclosure requirements in Fed. R. Civ. P. 26(a)(3) and to timely adhere

   to all requirements in Local Rule 3.06 concerning Final Pretrial Procedures.



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   While counsel for the Plaintiff shall be responsible for initiating the pretrial

   compliance process, all parties are responsible for assuring its timely

   completion.

            5.    A pretrial statement in compliance with Local Rule 3.06 shall be

   filed with the Clerk on or before the date noted in this Order with two courtesy

   copies to be provided to the Court. The parties are required to identify the

   depositions to be read at trial in the pretrial statement but are not required to

   designate the pages of depositions to be read at trial until a date to be

   established by the Court at the final pretrial conference.

            6.    The final pretrial conference and trial will be held in Courtroom

   10B, 10th Floor, United States Courthouse, 300 North Hogan Street,

   Jacksonville, Florida. The pretrial conference shall be attended by counsel who

   will act as lead counsel and who are vested with full authority to make and

   solicit disclosures and agreements touching on all matters pertaining to the

   trial.

            7.    Unless otherwise ordered, no later than five days before the trial

   term set forth above, the parties shall file with the Clerk of Court the following

   (and, as to each of the following, provide directly to Chambers, Suite 11-350, by

   mail or hand delivery two (2) copies marked “Judge’s Chambers Copy”):

            (a) Each side shall file a Trial Brief, with citations of authorities and
                arguments specifically addressing all significant disputed issues of law
                likely to arise at trial: and either (b) or (c) below, as appropriate.



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            (b) If case is a jury trial, the following

                 (1) A concise (one paragraph preferably) joint or stipulated
                     statement of the nature of the action to be used solely for purpose
                     of providing a basic explanation of the case to the jury venire at the
                     commencement of jury selection process:

                 (2) Proposed Voir Dire (the Court will conduct the jury voir dire and,
                     in addition to the usual more general questions, will, without
                     initiation by counsel, ask more particular questions suggested by
                     the nature of the case; counsel should, therefore, be selective in the
                     jury questions submitted to the Court for consideration); and

                 (3) A Proposed Verdict Form and complete set of all written
                     Proposed Jury Instructions. (The Court will expect counsel to
                     give their best efforts, cooperatively, in the production of a joint set
                     of instructions and verdict form, the format of which the Court will
                     discuss at the pretrial conference.)

            (c) If case is a non-jury trial, Proposed Findings of Fact and
                Conclusions of Law (each shall be separately stated in numbered
                paragraphs; Findings of Fact shall contain a detailed listing of the
                relevant material facts the party intends to prove, in a simple,
                narrative form; Conclusions of Law shall contain a full exposition of
                the legal theories relied upon by counsel). The proposed verdict form
                and     jury    instructions    should     also  be    emailed     to:
                chambers_flmd_howard@flmd.uscourts.gov.

            8.      The parties are advised (and should advise their witnesses) that

   photo identification is required to enter the United States Courthouse.

   Although cell phones, laptop computers, and similar electronic devices

   generally are not permitted in the building, attorneys may bring those items

   with them upon presentation to Court Security Officers of proof of membership

   in The Florida Bar or an Order of special admission pro hac vice.2


   2   Cell phones must be turned off while in the courtroom.



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         9.    In the event that the dates set herein for the final pretrial

   conference and/or trial are continued or otherwise modified, the remaining

   provisions of this Order shall remain in full force and effect.

         10.   THE COURT HAS DONE EVERYTHING POSSIBLE TO SET

   APPROPRIATE DEADLINES FOR THIS CASE. THE PARTIES

   SHOULD PROCEED ACCORDINGLY. DO NOT ASSUME THAT THE

   COURT WILL EXTEND THESE DEADLINES.

                                MEDIATION ORDER

         This case is referred to the mediator listed above pursuant to Chapter

   Four of the Local Rules. Counsel for Plaintiff is designated as lead counsel to

   be responsible for coordinating a mutually agreeable mediation date and for

   filing a notice advising the Court of the date selected for mediation. If Plaintiff

   is proceeding pro se, counsel for Defendant shall undertake the responsibility

   for coordinating a mutually agreeable mediation date and for filing the notice.

   The mediation conference shall be completed by the date set forth above. Each

   party’s lead counsel, a party’s surrogate satisfactory to the mediator, and any

   necessary insurance carrier representative must attend the mediation.

   Unexcused absence or departure from mediation is sanctionable.             Absent

   agreement otherwise by the parties or order of the Court, the cost of the

   mediator’s services shall be borne equally by the parties. The substance of the

   mediation is confidential and no party, lawyer, or other participant is bound by,



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   may record, or without the judge’s approval may disclose any event, including

   any statement confirming or denying a fact—except settlement—that occurs

   during the mediation.   The mediator must report within seven days after

   mediation the result of the mediation and whether all required persons

   attended.

        DONE AND ORDERED in Jacksonville, Florida on August 10, 2021.




   ja
   Copies to:
   Counsel of Record
   Pro Se Parties
   Mediator

   Attachments: Mediation Report; Court Docket




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